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                                                              Exhibit A to the Complaint
Location: New York, NY                                                                                    IP Address: 65.78.3.166
Total Works Infringed: 47                                                                                 ISP: Astound Broadband
 Work            Info Hash                                    UTC                 Site               Published          Registered   Registration
 1               91200735A6FB9EA26EE946F287BE01025D3E0737           01/17/2025    Tushy              07/21/2024         08/14/2024   PA0002484840
                                                                       18:02:52
 2               2b6d29b492b787006425cbf51747cfa1ea9bfb4a           01/17/2025    Tushy              09/08/2017         09/15/2017   PA0002052841
                                                                       15:52:56
 3               8b6c0a3e0ef068bef48fdce92c7086ed1c13c8b4           01/17/2025    Tushy              11/17/2017         01/04/2018   PA0002069336
                                                                       15:49:55
 4               b75101b7baf45e9ba825751481cfc2b04f759437           01/17/2025    Tushy              03/22/2019         04/08/2019   PA0002164887
                                                                       15:48:58
 5               97830606338EED41B6498E6B54D9C3F0E43C04EB           01/17/2025    Slayed             12/26/2023         01/16/2024   PA0002453475
                                                                       15:18:09
 6               A8A900F68D1470DE418DD2185447666C868F45CD           01/17/2025    Blacked Raw        06/01/2019         07/17/2019   PA0002188304
                                                                       15:13:54
 7               1A3BB4E8163B5F1CD768FCF274F03B6512CC0872           01/07/2025    Vixen              02/03/2023         03/07/2023   PA0002400312
                                                                       14:42:49
 8               A1CEB960EC65143DB61772C0EB28FD52DE7AC96E           12/20/2024    Tushy              01/06/2019         01/22/2019   PA0002147897
                                                                       15:12:45
 9               79D463F7E4C178365E27001EAB921188B37AE909           12/17/2024    Vixen              01/21/2022         02/14/2022   PA0002335466
                                                                       14:57:11
 10              5D41FDC74F09E33DECAA9455F97986E6FF6E2F0C           12/17/2024    Blacked Raw        11/25/2024         12/13/2024   PA0002506320
                                                                       14:50:43
 11              9a3064b3c7d25fc761a9afcf5099b09ad70501d2           08/26/2024    Blacked Raw        09/24/2019         10/07/2019   PA0002205464
                                                                       23:11:16
 12              e1076a99e39dc97ebb42772e6b6e8a44471104f7           06/18/2024    Vixen              09/01/2019         09/17/2019   PA0002216134
                                                                       19:52:48
 13              b2ec0d137458690b3230ac2c75e4414a23f11fb8           06/17/2024    Blacked            11/11/2023         12/11/2023   PA0002444873
                                                                       01:48:05
 14              223e24149f7269c1833af5871e2e592baec36768           05/12/2024    Blacked Raw        10/09/2023         10/18/2023   PA0002435308
                                                                       00:34:32
 15              76b9f50df922314a1c3f52528b861399420dcd4c           05/04/2024    Blacked Raw        02/16/2018         03/01/2018   PA0002079185
                                                                       06:46:01
 16              c0fb7ab75b293aae15a729cbba5f9c44f6f0d5e1           04/22/2024    Blacked            08/13/2019         08/22/2019   PA0002195504
                                                                       05:33:56
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Work   Info Hash                                    UTC                 Site               Published          Registered   Registration
17     32f351a50923665facebb3e808a0821459057ea6           04/17/2024    Tushy              11/22/2019         12/03/2019   PA0002232052
                                                             06:38:56
18     8b31330fd19b861677225a82727ebd5ed7d35c2b           02/16/2024    Vixen              08/25/2023         09/18/2023   PA0002431081
                                                             21:38:36
19     f5467440bf20f9ab4445476758aed8766bdfad6c           01/17/2024    Tushy              11/08/2020         12/09/2020   PA0002274932
                                                             15:41:11
20     e23d60c61b448f0ce04f14f2d0e7ef7061ef0ba3           01/01/2024    Blacked            12/31/2019         01/27/2020   PA0002223957
                                                             05:06:55
21     4f06f790645d5707e7ceffd67e12c45621a0ed2e           12/21/2023    Blacked            01/30/2020         02/20/2020   PA0002237624
                                                             02:46:40
22     ce13eb5fc9140b8e40d3ca24827f4870aa7a4c63           11/04/2023    Blacked Raw        09/29/2018         11/01/2018   PA0002143425
                                                             23:06:08
23     5EBAA857DB4CB94E7B579561C0FBE666094E0A10           10/10/2023    Blacked Raw        06/16/2018         07/14/2018   PA0002128317
                                                             14:48:06
24     C20D8CE638A46CD39FA65004C565F7F85846691D           10/10/2023    Blacked Raw        03/28/2019         05/28/2019   PA0002200777
                                                             14:45:27
25     2E7DB9DA1E12BC2963F7DC66AC300417AD983BC7           10/10/2023    Blacked Raw        12/13/2019         01/22/2020   PA0002234865
                                                             14:42:35
26     f327ac44b4276984912c6127e57f90debf207d82           09/25/2023    Blacked            04/15/2019         05/11/2019   PA0002173886
                                                             21:35:08
27     291FBDCCB166E2B3BABD1BBBEDC629EC375EEB32           06/23/2023    Blacked            11/16/2018         11/25/2018   PA0002136637
                                                             19:40:58
28     8031B4A7A5CFCECBC796D4772440BFC5016C11AA           06/23/2023    Blacked            06/24/2018         07/26/2018   PA0002112154
                                                             19:39:12
29     39ba1da7c78ae03c6f19ae07d392a16a6a86afc6           04/24/2023    Vixen              12/03/2021         12/09/2021   PA0002325832
                                                             22:34:56
30     296fdef634478424364d87d201b58974f4179eb0           03/10/2023    Blacked Raw        01/07/2019         02/02/2019   PA0002155390
                                                             01:51:08
31     271cbd81ca23fb64003227e8eff7889f2f6a2b3a           03/10/2023    Blacked Raw        05/25/2020         06/22/2020   PA0002245633
                                                             01:50:24
32     08dc95dead3515d592454f2806d4ce0163e2d96a           03/10/2023    Blacked            12/19/2020         01/05/2021   PA0002269959
                                                             01:48:52
33     0be6502bc98ca82755b1688fb5e2914b28c5b19c           03/10/2023    Tushy              07/15/2019         08/02/2019   PA0002192300
                                                             01:48:13
34     74b17221ebe9407ae907992d7d10932f8cbb01ec           03/10/2023    Blacked Raw        10/04/2018         10/16/2018   PA0002127787
                                                             01:30:08
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Work   Info Hash                                    UTC                 Site               Published          Registered   Registration
35     d2ff65c161844649d0b39d3666d4293d4cee064a           03/10/2023    Blacked Raw        10/09/2019         11/05/2019   PA0002210286
                                                             01:27:32
36     2d925bb071ed1817776000d40a72a6c55a077459           03/10/2023    Tushy              09/03/2019         09/13/2019   PA0002200699
                                                             01:15:58
37     93c3e17354ec0db724cb2991ebc1f235a62726a9           03/01/2023    Blacked Raw        01/04/2021         02/02/2021   PA0002280514
                                                             03:55:29
38     95f4d9e97d890fc30a535a7b4fa907e5518e1ddc           01/06/2023    Vixen              05/08/2020         06/08/2020   PA0002243645
                                                             04:02:02
39     1caf2064b82e0622e99399268cdf2c6f0d862034           12/15/2022    Vixen              04/17/2020         04/22/2020   PA0002237694
                                                             20:39:23
40     35aebaecfced7c25d04e824299bc714f3e936a9a           10/26/2022    Blacked Raw        05/16/2022         05/20/2022   PA0002350378
                                                             05:43:50
41     8e53ff2e1f38259e5f74502c9f49dbdac1bc341b           07/08/2022    Vixen              09/17/2021         10/05/2021   PA0002315292
                                                             23:35:53
42     952d9bc7acf46c122334aa083a4d0b58602fc38a           06/22/2022    Slayed             09/02/2021         09/30/2021   PA0002319733
                                                             12:24:55
43     9dad376dbc4a7d3f191165c957ee98d96c20c32a           06/20/2022    Tushy              10/18/2018         11/25/2018   PA0002136724
                                                             05:59:37
44     a1fab24619c5fdb3a2b15c95d63609e984cb3f13           06/11/2022    Blacked            06/26/2021         07/08/2021   PA0002300662
                                                             17:18:31
45     816425d68aab20b7f9d7ad67440ad8369993cce1           06/10/2022    Tushy              04/21/2018         05/23/2018   PA0002101309
                                                             20:14:27
46     5554570156fc9ccd23d39d2946bf8eacb0f41f70           05/20/2022    Tushy              05/26/2017         06/22/2017   PA0002039288
                                                             07:05:28
47     f08f9233ce0d8367276755228f6cf6e6186aca06           03/18/2022    Vixen              05/24/2019         07/17/2019   PA0002188303
                                                             05:27:25
